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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

       Plaintiff,
v.                                                          No. 22-cr-1975 JCH

ZOILO ORTIZ-ORTIZ,

       Defendant.

                         MEMORANDUM OPINION AND ORDER

       On October 24, 2023, Defendant Zoilo Ortiz-Ortiz (“Defendant”) filed an Opposed Motion

for Rule 17(c) Subpoenas (ECF No. 55). Defense counsel is seeking records regarding the canine,

Kofi, which conducted a dog sniff around Defendant’s vehicle during the traffic stop on November

14, 2022, and which purportedly alerted to the presence of drugs. Defendant seeks the information

to contest the reliability of the canine, and whether there was probable cause to conduct a search

of the interior of Defendant’s vehicle. Defendant requests the issuance of a Rule 17(c) subpoena

for the following: Kofi’s continuous certification history for every year he has been working;

training records for the same period; skills for which he was evaluated and performance in each

skill area with dates and frequency; and deployments/alert rate and success rate. (Def’s. Mot. 2,

ECF No. 55.) The Government objects to the motion on the basis that it has received and disclosed

to the defense 59 pages of records related to Kofi, which represents “the entirety of the materials

the prosecution has related to Kofi.” (Gov.’s Resp., ECF No. 56.) The Government offers no other

legal grounds for opposing the Rule 17(c) subpoena.


                                     LEGAL STANDARD
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       Rule 17 governs the issuance of subpoenas in criminal proceedings. Rule 17(c) governs the

issuance of subpoenas duces tecum and enables either party to obtain documents or other physical

evidence. Specifically, Rule 17(c)(1) provides:

       A subpoena may order the witness to produce any books, papers, documents, data
       or other objects the subpoena designates. The court may direct the witness to
       produce the designated items in court before trial or before they are to be offered in
       evidence. When the items arrive, the court may permit the parties and their
       attorneys to inspect all or part of them.

Fed. R. Crim. P. 17(c)(1). Unlike a trial subpoena, Rule 17(c) provides that a subpoena duces

tecum may be made returnable before trial or other evidentiary hearing. Fed. R. Crim. P. 17(c);

see also United States v. Nixon, 418 U.S. 683, 698-99 (1974) (citing Bowman Dairy Co. v. United

States, 341 U.S. 214 (1951)) (“[Rule 17(c)’s] chief innovation was to expedite the trial by

providing a time and place before trial for the inspection of subpoenaed materials.”). The plain

language of Rule 17(c) authorizes the court to “direct the witness to produce the designated items

in court before trial or before they are to be offered in evidence,” and once “the items arrive,” to

“permit the parties and their attorneys to inspect all or part of them.” Fed. R. Crim. P. 17(c).

Accordingly, production of the requested evidence must be made to the court rather than to the

requesting party’s counsel’s office. United States v. Sellers, 275 F.R.D. 620, 625 (D. Nev. 2011).

       A party seeking issuance of a subpoena duces tecum under Rule 17(c) must establish:

       (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
       procurable reasonably in advance of trial by exercise of due diligence; (3) that the
       party cannot properly prepare for trial without such production and inspection in
       advance of trial and that the failure to obtain such inspection may tend unreasonably
       to delay the trial: and (4) that the application is made in good faith and is not
       intended as a general “fishing expedition.”

United States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006) (quoting Nixon, 418 U.S. at

699-700). To meet this burden, the moving party “must clear three hurdles: (1) relevancy; (2)



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admissibility; [and] (3) specificity.” United States v. Morris, 287 F.3d 985, 991 (10th Cir. 2002)

(quoting Nixon, 418 U.S. at 700).


                                          DISCUSSION


       Defendant argues the materials are relevant to show Kofi’s rate of proficiency, his alert

error rate, his certifications, and his training. Regarding documents specific to Kofi, the

Government provided a “Narcotic & Patrol Detector Dog Certification” for Kofi dated September

28, 2022 (ECF No. 56-1 at 1 of 59); an “American Working Dogs 1 year Membership” for

Nicholas Jackson, Kofi’s handler, dated September 28, 2022, (id. at 2 of 59); the “Canine Teams”

section of the BIA Law Enforcement Handbook (id. at 3-20 of 59); the November 14, 2022,

incident report (id. at 21-22 of 59); Kofi’s medical history (id. at 23-46 of 59); and a Canine

Deployment/Seizure Report dated Feb. 24, 2022 (id. at 47-59). As to the latter document, the same

one-page document is repeated 13 times, (id. at 47-59), with the signature placement changing

somewhat in each document, but with the same date, except for two documents in which the

handwritten dates of 5/4/2022 and 6/17/22, respectively, are written over the “02/24/2022”

typewritten dates (id. at 51-52 of 59). Otherwise, the content of these documents appears the same.

       According to the BIA handbook, canine team certification and training records are kept

concerning the date, location, skills evaluated, and length of training. (Id. at 7 of 59.) Training

should occur a minimum of 16 hours per month. (Id.) Canine handler duties include completion of

all training logs and incidents logs, monthly, and maintenance of all training, certification, and

deployment records. (Id. at 8 of 59.) The District Canine Coordinator maintains records that

“document the use and the proficiency of individual canines in drug detection.” (Id. at 10 of 59.)

“All documentation including certifications, training and deployment records, utilization statistics,

incidents of misbehavior and corrective action taken, etc. will be submitted to the Canine Handler’s

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immediate supervisor for review and approval,” and are maintained for the service life of the dog

plus three years. (Id. at 20.)

           The documents that are required to be maintained for the canine team concerning his

certification and training are relevant to the issue of Kofi’s reliability and they would potentially

be admissible at the hearing on a motion to suppress on this issue. Although the Government

averred it disclosed everything the prosecution had regarding Kofi, it is not clear that the BIA

turned over to the prosecution all the documents it maintains on Kofi. For this reason, the Court

does not find the request to be moot.

           As for the specificity of the requests, the Court finds that Defendant is not pursuing a

fishing expedition, and it has generally limited its production request to the types of records

maintained for Kofi pursuant to BIA policy. The Court, however, finds one request ambiguous and

potentially referring to documents not relevant to the Court’s analysis: “Deployments/alert rate

and success rate for the same period.” Cf. Florida v. Harris, 568 U.S. 237, 246 (“The better

measure of a dog's reliability thus comes away from the field, in controlled testing environments.”).

For clarity, the Court will instead order production of documents maintained by the BIA on the

use and the proficiency of Kofi in drug detection and all documentation including certifications,

training and deployment records, and utilization statistics for Kofi.

           Defendants have requested that the evidence be produced to defense counsel’s office.

Production of Rule 17(c) evidence, however, must be made to the court. See Fed. R. Crim. P.

17(c)(1). The Court will therefore deny Defendants’ request that the production be made in a place

other than the court, but it will permit production to the Court, which will notify counsel upon

receipt.




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      IT IS THEREFORE ORDERED that Defendant’s Opposed Motion for Rule 17(c)

Subpoenas (ECF No. 55) is GRANTED IN PART as follows:


      1. The Clerk of the United States District Court for the District of New Mexico is Ordered

         to issue a Rule 17(c) subpoena duces tecum to:

         Records Custodian
         Bureau of Indian Affairs (BIA”)
         1001 Indian School Rd. NW
         Bldg. 1
         Suite 247A
         Albuquerque, NM 87104
         The subpoena should order the production of the following records:


          Kofi’s continuous certification history for every year he has been working;

          Training records for the same period, including documents on the use and the

             proficiency of Kofi in drug detection;

          Skills for which Kofi was evaluated and performance in each skill area with dates

             and frequency for the same period; and

          All documentation including certifications, training and deployment records, and

             utilization statistics for Kofi.

      2. The subpoena shall require production of the requested evidence ten (10) days after

         the service of the requested subpoena at the United States District Court for the

         District of New Mexico, Suite 710, 333 Lomas Boulevard, Albuquerque, New

         Mexico, 87102.


                                                ________________________________________
                                                SENIOR UNITED STATES DISTRICT JUDGE




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